JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. Investigating Agency FBI
City Cambridge, Needham Related Case Information:
County _Middlesex, Norfolk Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

 

 

 

Defendant Information:

 

 

 

 

 

Defendant Name _Peter Brand Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name
Address (City & State) 59 Otis Street, #3, Cambridge, MA
Birth date (Yr only); 1953 SSN (last4i#);_ 4008 Sex Male Race: White Nationality: Israeli _
Defense Counsel if known: Douglas Brooks Address Libby Hoopes Brooks
Bar Number 399 Boylston St Boston, MA 02116

 

 

U.S. Attorney Information:

 

 

 

AUSA — _Mackenzie Queenin Bar Number if applicable _688114
Interpreter: [ ] Yes No List language and/or dialect:
Victims: [_lves No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [ | Yes No
Matter to be SEALED: Yes [] No
[V] Warrant Requested [| Regular Process [| In Custody

Location Status:

Arrest Date

 

 

 

 

 

 

[ ]Already in Federal Custody as of in

[Already in State Custody at [_ Serving Sentence | Awaitin g Trial
[Jon Pretrial Release: | Ordered by: on

Charging Document: Complaint [| Information [ Indictment

Total # of Counts: [ ] Petty —————_ [| Misdemeanor —————— Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 11/13/2020 Signature of AUSA: / Jp:
7 oo

 
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

 

Name of Defendant Peter Brand

 

U.S.C, Citations
Index Key/Code Description of Offense Charged

Set 1 18 U.S.C. sec. 371 Conspiracy to Commit Federal Programs Bribery

Set 2

Count Numbers

 

Set 3

 

Set 4

 

Set 5

 

Set 6

 

Set 7

 

Set 8

 

Set 9

 

Set 10

 

Set 11

 

Set 12

 

Set 13

 

 

Set 14

 

Set 15

 

ADDITIONAL INFORMATION;

 

 

 

 

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
